









lee, elmer edward v. state                                          









&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; NO. 12-07-00301-CR

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IN THE COURT OF APPEALS

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TWELFTH COURT OF APPEALS
DISTRICT

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TYLER, TEXAS

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JERARDO
SERRATO,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; APPEAL FROM THE 241ST

APPELLANT

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V.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; JUDICIAL
DISTRICT COURT OF

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THE
STATE OF TEXAS,

APPELLEE&nbsp;&nbsp; §&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; SMITH
COUNTY, TEXAS

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MEMORANDUM OPINION

PER
CURIAM

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; This appeal is being dismissed for want of
jurisdiction.&nbsp; Appellant was convicted of
aggravated assault with a deadly weapon.&nbsp;
Sentence was imposed on January 22, 2007.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Texas Rule of Appellate Procedure 26.2 provides that an
appeal is perfected when notice of appeal is filed within thirty days after the
day sentence is imposed or suspended in open court unless a motion for new
trial is timely filed.&nbsp; Where a timely
motion for new trial has been filed, notice of appeal shall be filed within
ninety days after the sentence is imposed or suspended in open court.&nbsp; Id.&nbsp;
Appellant did not file a motion for new trial.&nbsp; Therefore, his notice of appeal was due to
have been filed on or before February 21, 2007.&nbsp;
However, Appellant did not file his notice of appeal until August 9,
2007 and did not file a motion for extension of time to file his notice of
appeal as permitted by Texas Rule of Appellate Procedure 26.3.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On August 16, 2007, this court notified Appellant,
pursuant to Rules 26.2 and 37.2, that the clerk’s record did not show the
jurisdiction of this court, and it gave him until August 27, 2007 to correct
the defect.&nbsp; The deadline has now passed,
and Appellant did not furnish information showing the jurisdiction of this
court or otherwise respond to this court’s notice.&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Because this court has no authority to allow the late
filing of a notice of appeal except as provided by Rule 26.3, the appeal must
be dismissed.&nbsp; See Slaton v. State,
981 S.W.2d 208, 210 (Tex. Crim. App. 1998).&nbsp;
Accordingly, the appeal is dismissed for want of jurisdiction.&nbsp; 

Opinion
delivered August 31, 2007.

Panel
consisted of Worthen, C.J., Griffith, J., and Hoyle, J.

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(DO NOT PUBLISH)





